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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


UNITED STATES OF AMERICA,

v.                                                   Case No. 8:10-cr-188-T-30MAP

HECTOR DANIEL CAMEJO DE LA FLOR,
CARLOS MARTINEZ DE LA FLOR, and
ALEXIS ALBERTO VILTRES RAMOS ,

_________________________________________

                                        ORDER

      This cause came on for consideration without oral argument upon Defendant Carlos

Martinez De La Flor’s Motion to Dismiss Conspiracy to Kidnap and Kidnapping Charges

(Dkt. 30) and the United States of America’s Response in Opposition of same (Dkt. 32). The

Court, having considered the motion, response, and being otherwise advised in the premises,

concludes that the motion should be denied.

                                     DISCUSSION

      On May 5, 2010, the Grand Jury indicted Defendant Carlos Martinez De La Flor

(“Defendant”) and two co-defendants on the following three charges - Conspiracy to Kidnap

in violation of Title 18 U.S.C. §1201(c), Kidnapping in violation of Title 18 U.S.C.

§1201(a)(1) and (2), and Extortion by Interstate Communications in violation of Title 18

U.S.C. §875(b) and 2.

      The conspiracy to kidnap and kidnapping charges stem from an alleged alien

smuggling incident where Defendant, who is a Cuban national living in Mexico, was
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allegedly involved in smuggling Armando Ismael Victores-Martinez (“Victores”) from Cuba

to the United States. According to the Indictment, the conspiracy centered on smuggling

Victores from Cuba to Mexico, and then eventually to the United States, where Victores had

family. After Victores was transported from Cuba to Mexico, Victores was allegedly

detained until payment was received from his relatives in Tampa, Florida. Phone calls were

made from Mexico to Victores’ father in the United States, demanding the payment of a

ransom in exchange for Victores’ release. After payment was allegedly received in Tampa

by a co-defendant, Victores traveled to the United States and was reunited with his father in

the Tampa area, within the Middle District of Florida.

       Defendant now moves to dismiss the kidnapping and conspiracy to kidnap charges,

arguing that 18 U.S.C. §1201 (the “federal kidnapping statute”) does not grant extraterritorial

jurisdiction to the United States to prosecute crimes allegedly committed outside the United

States by Cuban nationals against other Cuban nationals.

       The United States argues, in part, that the 2006 amendment to the federal kidnapping

statute extends jurisdiction to the United States under the facts of this case, i.e., when a

defendant “travels in or uses any means, facility or instrumentality of interstate or foreign

commerce in committing or in furtherance of the commission of the offense.” 18 U.S.C.

§1201 (a)(1). Thus, the United States contends that the indictment properly invokes the

federal kidnapping statute without requiring an extraterritorial application of the statute. The

Court agrees.

       The federal kidnapping statute, as amended in 2006, defines kidnapping as:

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       Whoever unlawfully seizes, confines, inveigles, decoys, kidnaps, abducts, or
       carries away and holds for ransom or reward or otherwise any person ... when-(1)
       the person is willfully transported in interstate or foreign commerce, regardless of
       whether the person was alive when transported across a State boundary, or the
       offender travels in interstate or foreign commerce or uses the mail or any means,
       facility, or instrumentality of interstate or foreign commerce in committing or in
       furtherance of the commission of the offense.

18 U.S.C. §1201 (a)(1) (emphasis added). Here, according to the Indictment, Defendant

demanded a ransom from the victim’s father, via several telephone calls from Mexico to the

Tampa area, and one of the defendants collected the ransom from the father in the Tampa

area. Also, the father’s payment of the ransom to a co-defendant caused the kidnapped

victim to then be transported from Mexico to the Tampa area. Thus, not only did a portion

of the crime allegedly occur in Tampa, but, under the 2006 amendment to the federal

kidnapping statute, Defendant allegedly used an “instrumentality of interstate or foreign

commerce” in furtherance of the commission of the offense via the telephone calls placed to

the Tampa area. See U.S. v. Augustin, 2010 WL 2639966, *4 (E.D. Tenn. June 28, 2010)

(discussing the constitutionality of the 2006 amendment to the federal kidnapping statute and

noting that the jurisdictional element is satisfied by limiting federal kidnappings to those

which either involve the victim’s or the offender’s travel across state lines or where

instrumentalities of interstate commerce are used in the commission of or in furtherance of

the offense); U.S. v. Ochoa, 2009 WL 3878520 (D.N.M. Nov. 12, 2009) (same).




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         Accordingly, the federal kidnapping statute’s application to the facts of this case is not

extraterritorial and Defendant Carlos Martinez De La Flor’s Motion to Dismiss Conspiracy

to Kidnap and Kidnapping Charges (Dkt. 30) must be denied.

         DONE and ORDERED in Tampa, Florida on August 23, 2010.




Copies furnished to:
Counsel/Parties of Record

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